AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
     UNITED STATES OF AMERICA                                            )   JUDGMENT IN A CRIMINAL CASE
                                                                         )   (For Revocation of Probation or Supervised Release)
                 V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                         )
     BRANDON SHANE LOWDERMILK                                            )   Case Number: DNCW112CR000032-003
                                                                         )   USM Number: 27525-058
                                                                         )
                                                                         )   Richard E. Cassady
                                                                         )   Defendant’s Attorney

THE DEFENDANT:
 ☒ Admitted guilt to violation of conditions 3-9 of the term of supervision.
 ☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:
 Violation                                                                                     Date Violation
 Number Nature of Violation                                                                      Concluded
       3           NEW LAW VIOLATION - POSSESSION WITH INTENT TO MANUFACTURE,                                    8/28/2015
                   SELL AND DELIVER SCHEDULE II CONTROLLED SUBSTANCE
                   (METHAMPHETAMINE)
       4           FAILURE TO MAINTAIN LAWFUL EMPLOYMENT                                                        11/18/2015
       5           FAILURE TO REPORT CHANGE IN RESIDENCE                                                        10/31/2015
       6           DRUG/ALCOHOL USE                                                                             12/18/2014
       7           FAILURE TO REPORT CONTACT WITH LAW ENFORCEMENT OFFICER                                       10/25/2015
       8           FAILURE TO COMPLY WITH MENTAL HEALTH TREATMENT                                               11/18/2015
                   REQUIREMENTS
       9           NEW LAW VIOLATION - POSSESSION WITH INTENT TO MANUFACTURE                                    11/19/2015
                   SELL AND DELIVER METHAMPHETAMINE

       The Defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

 ☐       The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.
 ☒       Violations 1 & 2 are dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.

                                                                                  Date of Imposition of Sentence: 1/28/2016
                                                                                   Signed: February 1, 2016




                                                                                  Date: February 1, 2016

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Defendant: Brandon Shane Lowdermilk                                                                        Judgment- Page 2 of 2
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                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
EIGHTEEN (18) MONTHS. THE TERM OF IMPRISONMENT IMPOSED BY THIS JUDGMENT SHALL RUN
CONSECUTIVELY TO ANY UNDISCHARGED TERM OF IMPRISONMENT HERETOFORE OR HEREAFTER IMPOSED
BY ANY OTHER COURT FOR ANY MATTER.

☒ The Court makes the following recommendations to the Bureau of Prisons:
         -     Participation in the Federal Inmate Financial Responsibility Program.
         -     Participation in any available substance abuse treatment program and if eligible receive benefits of
               18:3621(e)(2).
         -     Defendant shall support all dependents from prison earnings.
         -     Participation in any available mental health treatment programs.
         -     Participation in any available educational and vocational opportunities.

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

             ☐ As notified by the United States Marshal.
             ☐ At on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             ☐ As notified by the United States Marshal.
             ☐ Before 2 p.m. on .
             ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                  By:
                                                                                         Deputy Marshal




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